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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


    UNITED STATES OF AMERICA,

         Plaintiff
                                                CIVIL NO. 11-319 (JAG)
               v.

    CARLOS LOPEZ-DIAZ [2],

         Defendant.



                                OPINION AND ORDER

GARCIA-GREGORY, D.J.

        Pending before the Court is Defendant Carlos Lopez-Diaz’s

[2] Motion to Suppress (Docket No. 101), and the Magistrate

Judge’s Report and Recommendation (the “Report”) advising the

Court to deny said motion (Docket No. 122). For the reasons

stated     below,    the   Court   ADOPTS   the    Report,     and   accordingly,

DENIES Defendant’s Motion to Suppress.


                                   BACKGROUND1


        Co-defendant Carlos López-Díaz [2] (“López-Díaz [2]”) is a

licensed dentist who operated a mobile clinic providing dental

services in Puerto Rico. He was charged, together with other

defendants, in an Indictment with conspiracy to commit health

care fraud from January 1, 2006 through July 27, 2011. López-

1
    This section is taken with minor modifications from the Report.
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Díaz      [2]     was     also      charged       with        providing         the     personal

information        of    beneficiaries2         to    the      principal         suspect,         his

brother       José      López-Díaz       (“López-Díaz          [1]”).      (Docket          No.    3,

Indictment, ¶¶1-14). Finally, Co-defendant López-Díaz [2] stands

accused of aggravated identity theft for aiding and abetting

Lopez-Diaz [1]. (Docket No. 3, Indictment, p. 12 ¶¶ 16-20).3


        On    November      23,   2011,     defendant          López-Díaz        [2]    filed       a

“Motion to Suppress Evidence Illegally Seized from his Home and

Home Offices” claiming the search warrant executed at his home

and    home     offices     on    July    27,     2011,       at    Urb.    Baldrich         lacked

probable cause because the search warrant and the affidavit in

support thereof were primarily the result of an investigation of

his     brother.       López-Díaz     [2]     seeks       to       suppress      the    evidence

seized during the search conducted at Urb. Baldrich and all

evidence        subsequently        obtained         as   a    result,        including           any

statement made by López-Díaz [2]. (Docket No. 101). López-Díaz

[2] also claims that the agents withheld in the affidavit that

there     was     no     evidence    that       defendant          knew    of     any       alleged

fraudulent billings by his brother. Thus, López-Díaz [2] argues


2
    This information included names, addresses, telephone numbers, dates of
birth and medical plan insurance identification numbers.
3
    The Indictment contains a forfeiture allegation under Title 18, United
States    Code,   Section    982(a)(7)     upon   conviction        for    Counts     One    through
Fifteen, for money equal to $547,410.01 of proceeds obtained as a result of
the offenses.
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that    the    good    faith      exception       for    search     warrants       does    not

apply.     Furthermore,        he     requests     a    Franks      hearing,      Franks    v.

Delaware,      438    U.S.    458      (1978),    on    the   basis       that    there    are

factual issues that impede a proper ruling on his motion to

suppress.


       On the other hand, the Government contends that there was

probable cause for the Magistrate Judge to issue the search

warrant in question, as there was reason to believe evidence

supporting      health       care      fraud     and    identity      theft       was   being

maintained      at    said     home     and    home     offices.     In    addition,       the

government claims the location of López-Díaz's [2] address was

obtained       from    the     Medicare        Enrollment         documentation,          bank

records and the Puerto Rico Department of Motor Vehicle records,

thus making the location a place of business for López-Díaz [2].

(Docket No. 116).


                                    STANDARD OF REVIEW


       Pursuant to 28 U.S.C. § 636(b)(1)(B), Fed. R. Civ. P. 72(b)

and    Local    Rule    72,       a    district    court      may    refer       dispositive

motions to a United States magistrate judge for a Report and

Recommendation. See Alamo Rodriguez v. Pfizer Pharmaceuticals,

Inc., 286 F. Supp. 2d 144, 146 (D.P.R. 2003). The adversely

affected party may “contest the [m]agistrate [j]udge’s report

and    recommendation        by       filing   objections      ‘within       ten    days    of
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being    served’         with      a    copy    of    the     order.”     United     States     v.

Mercado Pagan, 286 F. Supp. 2d 231, 233 (D.P.R. 2003) (citing 28

U.S.C.       §       636(b)(1)).        If     objections        are     timely     filed,     the

district judge shall “make a de novo determination of those

portions of the report or specified findings or recommendation

to which [an] objection is made.” Rivera-De-Leon v. Maxon Eng’g

Servs., 283 F. Supp. 2d 550, 555 (D.P.R. 2003). A district court

can   “accept,          reject,        or    modify,     in      whole    or   in    part,     the

findings         or    recommendations           made       by   the     magistrate.”        Alamo

Rodriguez, 286 F. Supp. 2d at 146 (citing Templeman v. Chris

Craft Corp., 770 F.2d 245, 247 (1st Cir. 1985)). However, if the

affected party fails to timely file objections, the district

court can assume that they have agreed to the magistrate judge’s

recommendation. Id.


        In   Spinelli         v.       U.S.,    the     Supreme        Court   outlined       four

“established propositions” that govern probable cause and the

issuance and review of search warrants. See Spinelli v. U.S.,

393 U.S. 410, 590-591 (1969). First, “that only the probability,

and   not        a    prima   facie      showing,       of    criminal     activity     is    the

standard of probable cause.” Id. Second, “that affidavits of

probable cause are tested by much less rigorous standards than

those governing the admissibility of evidence at trial.” Id.

Third, “that in judging probable cause issuing magistrates are
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not to be confined by niggardly limitations or by restrictions

on the use of their common sense.” Id. Finally, “that their

determination of probable cause should be paid great deference

by reviewing courts.” Id.


                                        ANALYSIS


        Lopez-Diaz [2] argues that the Magistrate Judge erred in

concluding that there was probable cause to search his home and

offices. Specifically, he contends that a close reading of the

affidavit       “makes       clear     that    there       is    little     or    nothing

implicating       [López-Díaz        [2]]     in   knowingly       and    intentionally

participating” in the illegal activities of his brother, López-

Díaz [1]. (Docket No. 137, p.8).4 In essence, he argues that the

search     warrant     was    illegal       because       the   agents    did    not    have

probable cause to arrest him.


        This argument does not hold water. In Zurcher v. Stanford

Daily, the Supreme Court held that "once it is established that

probable       cause   exists    to     believe       a    federal     crime     has    been

committed[,] a warrant may issue for the search of any property

which the magistrate has probable cause to believe may be the

place     of   concealment      of     evidence     of     the   crime.”       Zurcher    v.


4
    Defendant makes no specific objection to the Report. Rather, Defendant
reiterates the arguments already presented and disposed of before the
Magistrate Judge.
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Stanford      Daily,    436    U.S.       547,    558       (1978)(internal           citations

omitted). Zurcher validated a search warrant executed on the

property of a third party, notwithstanding the fact that there

was no probable cause to arrest the property’s owner or anyone

inside     that     property.       The     Court       thought       it     “untenable        to

conclude that property may not be searched unless its occupant

is reasonably suspected of crime and is subject to arrest.”

Zurcher, 436 U.S. at 559. Shortly thereafter, the First Circuit

recognized that this “rule is obviously the same with respect to

a   person    who     the   police    do    indeed          suspect    but       do   not    have

probable      cause    to   arrest;        such    a    person's       property         may    be

searched       upon     probable          cause        to     believe        that       fruits,

instrumentalities, or evidence of the crime are present, even

though the products of the search may implicate him.” U.S. v.

Melvin, 596 F.2d 492, 496 (1st Cir. 1979) (citing Carroll v.

United States, 267 U.S. 132, 158-59 (1925)).


      Consequently,         even     if    the    affidavit       did        not      establish

probable     cause     to   believe       that    Defendant       Lopez-Diaz           [2]    had

committed a crime, a matter which we do not decide here, the

warrant      authorizing      the    search       of    his    house       and     office     was

valid.     The      Magistrate      Judge        correctly       concluded            that    the

affidavit, fairly read, establishes probable cause to believe

that a crime had been committed, and that Defendant Lopez-Diaz’s
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[2] Baldrich property might have been “the place of concealment

of fruits, instrumentalities, or evidence of the crime.”5


        In an attempt to save his argument from the holdings in

Zurcher          and    Melvin,       defendant      offers       as    persuasive          authority

Voicenet Communications, Inc. v. Corbett, Civil Case No. 04-

1318, Slip Copy, 2010 WL 3657840 (E.D.Pa. 2010).6 In that case,

according to defendant, the affidavit that supported the search

warrant          alleged       that      the    property        owner   committed          a   federal

offense.          Thus,       in   order       for   the    warrant      to      be    valid,       “the

magistrate             must    have      been    able      to    conclude        that      under    the

totality of the circumstances there was a ‘fair probability’”

that the suspect knowingly committed the crime. Id. at *8-9. The

Court does not dispute that there must be probable cause to

believe a crime has been committed in order to issue a search

warrant.7 But that is beside the point. In the case at bar, the


        5
            The Magistrate Judge gave additional weight to the affidavit, as it
was “based on information provided by multiple sources.” (Docket No. 122,
p.9). These sources included co-defendant Ms. Williams-Nieves (who worked as
a secretary for both defendants Lopez-Diaz); the observations of the federal
agents      in    charge      of   the   investigation;     statements     made       by   health   care
providers; and statements from people associated with Hogar Huerto de Jesus
and Hogar Cristo Rey.

6
    This case was decided by a district court in the Third Circuit and as such,
carries little weight of authority.
7
    The application for a search warrant must allow for probable cause to
believe that 1) a crime has been committed, and 2) specific evidence of the
offense will be found at the place to be searched.
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affidavit was ripe with information that allowed probable cause

to believe that a health-care fraud scheme had taken place.

Thus, Corbett adds nothing to our analysis. Id.


        As the Report describes in detail, the prime suspect used

his brother’s mobile medical practice as a springboard to launch

his fraudulent scheme. The sources in the affidavit indicated

that documents and evidence relating to this crime were located

in defendant 2’s property. The Magistrate Judge found, inter

alia, that “a spreadsheet containing López-Díaz [2]’s patient

information was created and kept at his home offices.” (Docket

No.     122,   p.10).    López-Díaz      [1]   would     make      copies   of      this

spreadsheet      at    his   brother’s   house,    and    use      the   information

gleaned to fill out the fraudulent medical claims. Id. On the

other    hand,   Ms.    Williams-Nieves,       secretary    to      both    brothers,

stated that López-Díaz [1] worked as a “general practitioner”

and kept medical documents in his brother’s office. (Id. at

p.8). Finally, we note that López-Díaz [1] based many of his

fraudulent claims on the personal information of his brother’s

patients. (See Docket No. 122, p.6-7). Thus, there was probable

cause to think that Lopez-Diaz’s [2] home and office in Baldrich

was a place of concealment for the instrumentalities or evidence
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of the fraud scheme. The search warrant to examine López-Díaz’s

[2] property was clearly valid.8


Material Omissions in the Affidavit and the Franks Hearing


        Lopez-Diaz [2] also argues for suppression on the basis

that the agents made material omissions in their application for

a search warrant. He contends that the agents “knew full well

that there was no evidence that Dr. Carlos Lopez knew of any

alleged fraudulent billings by his brother, Dr. Jose Lopez.”

(Docket No. 137, p. 11). Therefore, defendant 2 claims, the

Magistrate Judge had no basis to find probable cause to issue

the search warrant.


        The Magistrate Judge determined that these omissions are

immaterial      because    the    affidavit     included      large       amounts   of

evidence from other sources. Effectively, the Magistrate Judge

found that even if the “misleading statements from the affidavit

were excised – or included – there would still be more than

adequate showing of probable cause.” (Docket No. 122, p.13).

Here,      we   pay    great     deference    to     the    Magistrate        Judge’s

determination of probable cause. Spinelli, 393 U.S. at 590-591.

After      carefully    examining     the     Report       and      the    associated


8
    Since we find that the search warrant is valid, we need not reach López-
Díaz’s [2] arguments regarding the good faith exception. United States v.
Leon, 468 U.S. 897 (1984).
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Objections, we find no reason to depart from the Magistrate

Judge’s     reasoning.      In      addition,      the      Magistrate      Judge’s

conclusion    is    consistent      with    our   finding     above:    López-Díaz

[2]’s knowledge of his brother’s scheme has no bearing on the

validity of the search warrant issued in this case.


     Finally, Lopez-Diaz [2] requests a hearing on the motion to

suppress under Franks v. Delaware, 438 U.S. 458 (1978). This

type of pretrial hearing is necessary when there are factual

disputes    that,    if   resolved     in   the    defendant’s       favor,     would

warrant the requested relief. United States v. D’Andrea, 648

F.3d 1, 3 (1st Cir. 2011). However, as we stated above, even if

we found that defendant 2 had no knowledge of his brother’s

illicit dealings, the search warrant would still be valid. Thus,

a Franks hearing would be of no help to López-Díaz [2].


                                    CONCLUSION


      For    the    reasons      stated     above,    the    Court     ADOPTS      the

Magistrate Judge’s recommendation and thus                   DENIES    Defendant’s

Motion to Suppress and request for a Franks hearing.


IT IS SO ORDERED.


     In San Juan, Puerto Rico, this 9th day of January, 2012.


                                             S/ Jay A. Garcia-Gregory
                                             JAY A. GARCIA-GREGORY
                                             United States District Judge
